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              IN THE UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF TEXAS
                      GALVESTON DIVISION

THANG HONG LUU, et al.,   §
                          §
     Plaintiffs,          §
                          §
VS.                       §              CIVIL ACTION NO. 3:11-cv-00182
                          §
INTERNATIONAL INVESTMENT §
TRADE AND SERVICE GROUP   §
A/K/A INTERSERCO, et al., §
                          §
     Defendants.          §

     PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANT
             INTERSERCO’S MOTION TO DISMISS

                                        Respectfully submitted,

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       Plaintiffs, through their undersigned attorneys, file this Response in

Opposition to the Motion to Dismiss filed by Defendant International Investment

Trade and Service Group (this Defendant and their co-conspirators hereafter are

referred to collectively as “Interserco”). (Doc. No. 30).               Plaintiffs submit that

Interserco’s Motion should be denied based on the grounds and reasons set forth

below.

                                     INTRODUCTION

       This is an important human trafficking case addressing the predation of

laborers from Vietnam. At the outset, Plaintiffs respectfully ask this Honorable

Court to take judicial notice that the U.S. Department of Justice and Immigration

and Customs Enforcement (“ICE”) have investigated this case, and the laborers

just have been granted T Visas.1 Vietnam has been placed in the Tier 2 Watch list

in 2011 and 2012 for not fully complying with the Trafficking Victims Protection
                                                                         2
Act’s minimum standards for the elimination of trafficking.                  In addressing this

grave problem, the U.S. Department of State’s annual Trafficking in Persons

Report provides:


1
  A T visa is a type of visa allowing certain victims of human trafficking and immediate family
members to remain and work temporarily in the United States if they agree to assist law
enforcement in testifying against the perpetrators.
2
  Plaintiffs also respectfully request the Court to take judicial notice of the U.S. Department of
State: Trafficking in Persons Report of 2012. U.S. Dept. of State, Trafficking in Persons Report
(2012), available at http://www.state.gov/j/tip/rls/tiprpt/2012/192368.htm and U.S. Department
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Report (2011), available at http://www.state.gov/j/tip/rls/tiprpt/2011/164233.htm.
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 Vietnam’s labor export companies, most of which are affiliated with
 state-owned enterprises, as well as unlicensed middlemen brokers,
 have been known to charge workers in excess of the fees allowed by
 law for the opportunity to work abroad. This forces Vietnamese
 workers to incur some of the highest debts among Asian expatriate
 workers, making them highly vulnerable to debt bondage and forced
 labor. A study on migration trends conducted in 2010 of 1,265
 Vietnamese migrants from three northern districts who had gone
 abroad for work found that nearly all faced high recruitment fees that
 put them in a state of debt bondage for years.

                                *****
 Some of Vietnam’s recruitment companies reportedly did not allow
 workers to read their contracts until the day before they were
 scheduled to depart the country, after the workers had already paid
 significant recruitment fees, often incurring debt. Some workers
 reported signing contracts in languages they could not read. There
 also have been documented cases of recruitment companies being
 unresponsive to workers’ requests for assistance in situations of
 exploitation.

                                 *****
 In ... labor trafficking, debt bondage, confiscation of identity and
 travel documents, and threats of deportation are commonly utilized to
 intimidate victims.

                                 *****
 NGOs report that traffickers’ increasing use of the Internet to lure
 victims has led to a rising number of middle-class and urban-dwelling
 Vietnamese to fall prey to human trafficking. There are reports that
 individuals who failed to meet work quotas were punished through
 beatings and other physical abuse.

                                *****

 [An] [i]ndicator[] of forced labor ... [is] confiscation of travel
 documents by employers or labor brokers....

                              *****
 Contract disputes between Vietnamese workers and their Vietnam-
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          based labor recruitment companies or companies overseas – including
          for fraudulent recruitment and conditions that are indicative of forced
          labor – are left largely to the labor export recruiting company to
          resolve. Although workers have the legal right to take cases to
          court, in practice few have the resources to do so, and there is no
          known record of a Vietnamese labor trafficking victim
          successfully achieving compensation in court; thus, in practice,
          workers are left without reasonable legal recourse in such cases.

                                           *****
          The Vietnamese government ... did not make efforts to adequately
          identify victims among vulnerable populations or protect victims of
          labor trafficking or internal trafficking. Victim protection plans
          outlined in the anti-trafficking law have not yet been implemented.
          The government did not develop or employ systematic nationwide
          procedures to proactively and effectively identify victims of
          trafficking among vulnerable populations....

                                   *****
          The government continued to act as a perpetrator of forced
          labor....

                                          *****
          The government did not provide adequate legal protection from
          forced labor or assistance to victims in Vietnam or abroad. During
          the year, more than 88,000 Vietnamese workers traveled abroad to
          work through official contracts, and the total number of Vietnamese
          migrant workers in 40 countries and territories is estimated to be
          approximately 500,000.

                                        *****
          Government regulations do not prohibit private employers from
          withholding the passports of workers in destination countries, and
          Vietnamese companies were known to withhold workers’ travel
          documents, a known contributor to trafficking.3




3
    Id. (emphasis added).
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      Defendant Interserco, Defendant General Automotive Industry Corporation

of Vietnam (“Vinamotors”), and Defendant Tourist, Trade and Labor Export Joint

Stock Company (“TTLC”) are part of an international human trafficking

conspiracy. As illustrated in the 2012 Report of the U.S. Department of State,

Interserco’s illegal purpose was to lure Vietnamese laborers like Plaintiffs into a

scheme, whereby, for a large fee, the laborers would be brought to the United

States from Vietnam and given the opportunity to work for Interserco’s co-

conspirators, Coast to Coast Resources, Inc. and ILP Agency, LLC (collectively

“Coast to Coast”), for a designated period—30 months—before returning to their

homeland.    First Am. Compl. [Dkt. No. 29] at ¶¶ 2, 21. Each Plaintiff was

required to pay Interserco (or Vinamotors and TTLC) an initial fee ranging from

$7,000 to $15,000, an enormous sum by Vietnam standards (where the current

average yearly income is approximately $1,000). Id. at ¶ 23. To raise the sums

necessary to pay Interserco for the “opportunity” to work in the U.S. for Coast to

Coast, Plaintiffs were forced to obtain loans at usurious interest rates. Id. To

obtain these loans, Plaintiffs were required to turn over the deeds to their home to

Interserco. Id. Plaintiffs were effectively ensnared in Interserco’s trafficking

scheme at that point because only by working for Coast to Coast for the duration of

30 months could they repay their usurious debt and avoid losing their home.

Moreover, failure to repay a debt under Vietnam law could result in incarceration.


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       In addition to the fees paid to Interserco, each Plaintiff was required to pay a

portion of his wages earned in the U.S. to Coast to Coast.4                Id.   In return,

Interserco, through their principals and employees, promised to provide each

Plaintiff with (a) travel to the U.S., (b) work visas covering the full 30-month

period, (c) lodging in the U.S., and (d) a high paying job (realizing approximately

$120,000) with Coast to Coast in the U.S. Id.

       Plaintiffs were induced into the above scheme based on misrepresentations

and false promises made by Interserco, through their principals and employees,

regarding high paying jobs in the U.S.            Id. at ¶ 23.     Based on Interserco’s

misrepresentations regarding the amount of money they could make in the U.S.,

Plaintiffs paid the initial required fees to Interserco. Id. Plaintiffs raised money to

pay for these fees by taking on a usurious loan secured by a lien on their home.

After being transported to the U.S., Plaintiffs’ passports were confiscated and kept

by Interserco’s co-conspirators. While in America, Plaintiffs were segregated into

groups of four and were forced to live in run-down and dilapidated two bedroom

apartments. Id. at ¶ 25. Plaintiffs’ living and working conditions were deplorable.

Id. at ¶ 21. Plaintiffs were kept isolated or secluded. Eight months into the

promised 30-month employment term, Plaintiffs’ employment was abruptly

terminated and Plaintiffs were told to leave the U.S. and return to Vietnam. Id. at ¶

4
  Plaintiffs anticipate that discovery will reveal that Coast to Coast share a portion of the
laborers’ wages with Interserco.
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26. Interserco terminated Plaintiffs’ employment so that a new set of unsuspecting

laborers could be lured into the scheme and Interserco could receive a new set of

fees.    Id.   Interserco’s conduct left Plaintiffs in financial distress and facing

deportation. Id. at ¶¶ 21, 27. The allegations in Plaintiffs’ complaint, summarized

above, set forth a claim plausible on its face, which is all that is required under the

federal pleading rules. Accordingly, Interserco’s Motion to Dismiss should be

denied. Alternatively, Plaintiffs request an opportunity to replead and correct any

allegation the Court finds insufficient.5

                              STANDARDS OF REVIEW

        The applicable standard on a motion to dismiss is that the complaint need

only allege “enough facts to state a claim to relief that is plausible on its face.”

Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). A claim has “facial

plausibility” when the pleaded factual content allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.

Amacker v. Renaissance Asset Management LLC, 657 F.3d 252, 254 (5th Cir.

2011).     In resolving a motion to dismiss, the question is “not whether [the

responding party] will ultimately prevail” but whether his complaint was sufficient

to cross this threshold. Skinner v. Switzer, 131 S.Ct. 1289, 1296, 79 USLW 4157


5
  Based on discussions with Interserco’s counsel, Plaintiffs amended their Original Complaint to
include an additional defendant. The amended complaint did not include additional factual
details. Interserco subsequently moved to dismiss Plaintiffs’ First Amended Complaint.
                                               6
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(U.S. Mar 07, 2011). In making this determination, the district court is directed to

construe the complaint liberally in favor of the plaintiff, and to take all facts

pleaded in the complaint as true. Harrington v. State Farm Fire & Cas. Co., 563

F.3d 141, 147 (5th Cir. 2009). Moreover, due to Federal Rule of Civil Procedure

8(a)(2), “[s]pecific facts are not necessary; the [factual allegations] need only ‘give

the defendant fair notice of what the claim . . . claim is and the grounds upon

which it rests.’” Erickson v. Pardus, 551 U.S. 89, 93 (2007) (per curiam) (quoting

Twombly, 550 U.S. at 555). When considering a motion to dismiss, the district

court’s task is limited to deciding whether the plaintiff is entitled to offer evidence

in support of her claims, not whether the plaintiff will eventually prevail.

Twombly, 550 U.S. at 563 n.8.

                                   ARGUMENT

I.     Plaintiffs’ Complaint Sufficiently Alleged a Conspiracy Claim.

       Plaintiffs’ allegations sufficiently alleged a scheme between Interserco and

Coast to Coast directed at luring Vietnamese laborers into an arrangement where

they would be transported to the U.S. to work for Coast to Coast. Interserco

represented that Interserco would be working with Coast to Coast, who would

assist in coordinating the logistics of this venture in the U.S. First Am. Compl.

[Dkt. No. 29] at ¶ 38. Interserco obtained fees ranging between $7,000 to $15,000

from each Plaintiff. Coast to Coast obtained labor and a portion of each Plaintiff’s


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wages.     In furtherance of this scheme, Interserco made misrepresentations to

Plaintiffs regarding the length and term of their employment that would be

available with Coast to Coast and the amount of money Plaintiffs would realize.

Id. Interserco further made misrepresentations that Plaintiffs’ work visas would be

guaranteed for the full duration of the 30-month employment term. Id. These

allegations are sufficient to allege a conspiracy claim plausible on its face. Unlike

the actors in Twombly,6 Interserco and Coast to Coast were required to act jointly

in order to implement their scheme. The scheme of luring and transporting labor

from Vietnam to the U.S. could not be accomplished without the agreement and

participation of actors in Vietnam (Interserco) and actors in the United States

(Coast to Coast).

II.     Plaintiffs’ Complaint Sufficiently Alleged Legal Doctrines that would
        Impute Interserco with Vicariously Liability.

        Plaintiffs sufficiently alleged legal doctrines which would impute

vicariously liability upon Interserco.7 The allegations specifically identified actors

who are employees of Interserco. First Am. Compl. [Dkt. No. 29] at ¶¶ 23, 41.

Plaintiffs’ complaint further alleged that Interserco benefitted from their scheme


6
  Interserco’s reliance on Twombly is further misplaced. Twombly involved the requirements for
alleging an antitrust conspiracy claim under section 1 of the Sherman Act. Twombly, 550 U.S. at
543-44. This case does not involve an antitrust conspiracy.
7
  Plaintiffs’ complaint does not allege a claim of negligent hiring. Therefore, Interserco’s
arguments regarding this non-asserted claim are irrelevant.


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with Coast to Coast by obtaining the required fees and liens from Plaintiffs in

addition to the portion of the billions in revenue from the export of labor from

Vietnam.

III. Plaintiffs’ Complaint Sufficiently Alleged a Claim under the Alien Tort
     Claims Act.

      Plaintiffs’ complaint sufficiently alleged a claim under the Aliens Tort

Claims Act (the “ATS”). The ATS is a jurisdictional statute that permits courts to

hear claims arising from violations of international norms.       Sosa v. Alvarez-

Machain, 542 U.S. 692, 736 (2004). The requisite harm necessary to bring a claim

under the ATS is a “violation of the law of nations,” which is any claim based on

the present-day law of nations resting on a norm of international character accepted

by the civilized world. 28 U.S.C.A. § 1350. Human trafficking and forced labor

violates international law and specific norms accepted by the civilized world. See,

e.g., Velez v. Sanchez, 754 F. Supp.2d 488, 496 (E.D.N.Y. 2010); Doe v. Nestle,

S.A., 748 F.Supp.2d 1057, 1057 (C.D.Cal. 2010). Courts routinely recognize that

human trafficking, forced labor, and involuntary servitude state a claim cognizable

under ATS. See, e.g., Licea v. Curacao Drydock Co., Inc., 584 F.Supp.2d 1355

(S.D.Fla.2008) (finding that alleged forced labor and international human

trafficking of plaintiff by operator of a drydock facility constituted violations of

international law); In re World War II Era Japanese Forced Labor Litigation, 164

F.Supp.2d 1160, 1179 (N.D.Cal.2001) (holding that forced labor violates the law
                                         9
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of nations); Doe v. Unocal Corp., 963 F.Supp. 880, 892 (C.D.Cal. 1997)

(concluding allegations that defendants participated and benefited from forced

labor sufficient to establish jurisdiction under the ATS).

          The case cited by Interserco, Roe v. Bridgestone Corp., 492 F. Supp. 2d 988,

1013-14 (S.D. Ind. 2007), recognized a two prong test for establishing “forced

labor” under the ATS: (1) lack of consent and (2) menace of any penalty. Id. at

1013-14. In determining whether these exists a “lack of consent,” the court is

directed to consider a number of factors including the existence of: (a) any

deception or false promises about the type and terms of work; (b) any induced

indebtedness by deception or usury; and (c) any psychological compulsion, i.e., an

order to work, backed up by a credible threat of a penalty for non-compliance. Id.

at 1013. These factors are present in this case. Plaintiffs were deceived with false

promises about the types and terms of work. Also, in order to be selected for this

scheme, Plaintiffs were required to incur a debt with usurious interest rate and

were forced to pledge their homes. First Am. Compl. [Dkt. No. 29] at ¶¶ 21, 23,

26, 27. Interserco and/or the other Defendants confiscated the deeds to Plaintiffs’

home and travel documents.                Additionally, Interserco compelled Plaintiffs to

continue to work with threats of imprisonment (of Plaintiffs and their family

members) in Vietnam if they left their jobs and went home.8 Id. at ¶¶ 21-29, 35,


8
    In Vietnam, failure to repay a debt is punishable by incarceration.
                                                  10
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38, 41. Plaintiffs’ freewill was overcome by the fear that unless they continued

working for Coast to Coast, they would be unable to pay their usurious debt and

prevent the forfeiture of their home. Id. at ¶ 26.

          In considering whether labor is under the “menace of penalty,” the court is

to consider the existence or threat of: (1) physical violence against worker or

family or close associates; (2) imprisonment or other physical confinement; (3)

financial penalties; (4) denunciation to authorities and deportation; (5) dismissal

from current employment; and (6) exclusion from future employment. Bridgestone

at 1014.        These factors are present in this case.              Plaintiffs faced threats of

imprisonment, financial penalties, denunciation to authorities and deportation.9

Plaintiffs lived in consistent fear of deportation and imprisonment in Vietnam due

to Interserco’s actions. First Am. Compl. [Dkt. No. 29] at ¶¶ 22, 26, 27. Plaintiffs

were forced to live in inhumane conditions. Id. at ¶ 24. Plaintiffs’ passports were

confiscated to limit Plaintiffs’ mobility and ability to travel.                 Plaintiffs were

constantly monitored and supervised to prevent escape. Plaintiffs’ days were filled

with hard work and dreary, isolated living.                  Id. at ¶ 25. Every day, a non-

Vietnamese speaking employee shuttled Plaintiffs between work and their living

quarters, ensuring that Plaintiffs would have little communication with any

outsider. Id. Once a week, the same driver drove Plaintiffs to a supermarket to


9
    Interserco and its co-conspirators threatened Plaintiffs with deportation.
                                                   11
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buy groceries. Id. No transportation was provided to any other destination or for

any other purpose, even for church or temple. Id. Plaintiffs had little to no contact

with the outside world of any kind. Id. Moreover, they were repeatedly threatened

that if they had contact with outsiders they would be arrested or subjected to

violence. Id. Plaintiffs and their fellow laborers, though living near the robust

Greater Houston Vietnamese-American community, were in essence stranded and

completely isolated. Id.

        For these reasons, Interserco’s motion to dismiss Plaintiffs’ ATS claim

should be denied.

IV.     Plaintiffs’ Complaint Sufficiently Alleged a Claim under the Trafficking
        Victims Protection Reauthorization Act (the “TVPRA”).

        Plaintiffs sufficiently alleged a claim under the TVPRA. The fundamental

issue under the TVPRA’s civil remedies provision, 18 U.S.C. § 1595(a), is whether

a defendant knowingly procures or obtains a person’s labor through means

prohibited by statute, or knowingly benefits from participation in a venture that

does so. See 18 U.S.C. §§ 1589(a)-(b); 1595(a). The prohibited means include

“serious harm or threats of serious harm,” “abuse or threatened abuse of law or

process,” and “any scheme, plan, or pattern intended to cause the person to believe

that, if that person did not perform such labor or services, that person or another

person would suffer serious harm or physical restraint.” Id. at § 1589(a).



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      Plaintiffs’ amended complaint set forth sufficient allegations that Interserco

procured the Plaintiffs’ labor by prohibited means or knowingly benefited from a

participation in a venture that does so. Interserco ensnared Plaintiffs in their

fraudulent scheme by promising jobs that would realize each Plaintiff in excess of

$120,000 in return for fees of $7,000 to $15,000. First Am. Compl. [Dkt. No. 29]

at ¶ 24. To pay these exorbitant fees, Plaintiffs were forced to take on debt at

usurious rates and were forced to pledge their home as security for the debt. In

many instances, Interserco took possession of the deeds to Plaintiffs’ home. Id. at

¶ 21. Plaintiffs had no choice but to work for Coast to Coast until they have earned

enough wages to repay the debt and interests they had incurred. Not only would

they lose their home, Plaintiffs faced incarceration under Vietnam law if they

failed to repay the debt they had incurred to pay Interserco’s fees. Moreover, upon

arrival in the U.S., Interserco’s co-conspirators took possession of Plaintiffs’

passport thereby limiting their mobility and ability to leave the U.S.

      Contrary to Interserco’s assertion, liability under the TVPA does not depend

on physical coercion. In enacting the TVPA, Congress intended section 1589 to be

read broadly to “address the increasingly subtle methods of traffickers” including

those “who restrain their victims without physical violence or injury, or threaten

dire consequences by means other than overt violence.” H.R.Rep. No. 106–939, at




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101 (2000) (Conf.Rep.); H.R.Rep.No. 106-949, at 91 (2000) (Conf.Rep.).

Accordingly, section 1589 defines “harm” broadly as:

      any harm, whether physical or nonphysical, including psychological,
      financial, or reputational harm, that is sufficiently serious, under all
      the surrounding circumstances, to compel a reasonable person of the
      same background and in the same circumstances to perform or to
      continue performing labor or services in order to avoid incurring that
      harm.

18 U.S.C. § 1589(c)(2). In other words, someone is guilty of forced labor if he

intends to cause a person in his employ to believe that if she does not continue to

work, she will suffer the type of serious harm—physical or nonphysical, including

psychological, financial, reputation harm—that would compel someone in her

circumstances to continue working to avoid that harm. See, e.g., United States v.

Calimlim, 538 F.3d 706, 712, 714 (7th Cir.2008) (finding threat to stop paying

victim's poor family members constitutes serious harm).

      Here, Interserco’s fraudulent scheme forced Plaintiffs to take on crushing

debt, which they could not possibly repay unless they worked for Coast to Coast

for the duration of the 30-month employment term. See Pollock v. Williams, 322

U.S. 4, 9 (1944); Pierce v. United States, 146 F.2d 84, 86 (5th Cir. 1944) (defining

peonage as a condition of compulsory service or involuntary servitude based upon

a real or alleged indebtedness). Failure to repay the debts Plaintiffs had incurred

would result in the loss of their homes and criminal prosecution by the Communist

government of Vietnam.
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        Accordingly, Interserco’s Motion to Dismiss should be denied.

V.      Plaintiffs’ Complaint Sufficiently Alleged a Claim for Fraud.

        A pleading is sufficient under Federal Rule of Civil Procedure Rule 9(b) “if

it identifies the circumstances constituting fraud so that a defendant can prepare an

adequate answer from the allegation.” Moore v. Kayport Package Exp., Inc., 885

F.2d 531, 540 (9th Cir. 1989). Plaintiffs’ complaint meets the standards of Rule

9(b).   Plaintiffs’ complaint alleged that Interserco, through its employees and

principal (First Am. Compl. [Dkt. No. 29] at ¶¶ 23, 24), made the following

representations to Plaintiffs prior to transporting them to the U.S. to work for Coast

to Coast:

        1)    Plaintiffs would have a high paying job in the U.S. for a period
              of 30 months (Id. at ¶ 38);

        2)    Plaintiffs would be paid $15 per hour, $22.50 per overtime hour
              for at least 50 hours a week (Id. at ¶¶ 28, 38);

        3)    Plaintiffs would realize approximately $120,750.00 in net
              earnings (Id. at ¶ 28);

        4)    Interserco would obtain the necessary permits and visas for
              Plaintiffs to work in the U.S. for 30 months (Id. at ¶¶ 23, 28,
              38);

        5)    Plaintiffs’ work visas would be guaranteed for the full duration
              of the 30-month employment term (Id. at ¶ 38);

        6)    Interserco were working with Coast to Coast to coordinate
              logistics in the U.S. (Id. at ¶ 23); and



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      7)     Interserco would provide travel, comfortable lodging, food, and
             transportation (Id. at ¶¶ 23, 24, 38).

      Interserco made these representations to induce Plaintiffs’ agreement to be

transported to the U.S. and to obtain $7,000 to $15,000 in fees from each Plaintiff.

Id. at 23. The living conditions were not as Interserco had represented. After only

eight months into the promised thirty-month work term, Plaintiffs’ employment

was terminated. Id. at ¶¶ 26, 27. Interserco terminated Plaintiffs’ employment to

obtain new fees from a fresh set of laborers. Id. at ¶ 26. Plaintiffs sufficiently

alleged a claim for common law fraud against Interserco.

                              LEAVE TO AMEND

      To the extent that the Court finds that any of Plaintiffs’ allegations are

deficient, Plaintiffs’ respectfully request that the Court grant Plaintiffs leave to

amend such claims/descriptions with any such amendment relating back to the

filing date of the original Complaint. See, e.g., Grayson v. Mayview State Hosp.,

293 F.3d 103, 108 (3d. Cir. 2002) (generally a plaintiff must be given a right to

amend unless an amendment would be futile).

                                    PRAYER

      For all of the foregoing reasons, Plaintiffs hereby respectfully request that

the Court deny in its entirety Interserco’s motion to dismiss the counts of the

complaint.

      Dated December 14, 2012
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                                       Respectfully submitted,

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                        CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the above and foregoing was
served in accordance with the Federal Rules of Civil Procedure on all counsel of
record by fax on this the 14th day of December, 2012.

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